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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA
MUSTAPHA TAHBOUT, individually and :
on behaHofall others similarly»sifuated
9509 Hoff Street, Apt. A :

Philadelphia, PA 19115 : CWIL ACTlON NO.

 

Plaintiff, : JURY TRIAL ])EMANDED
v.

ESHAI CORP d/b/a COURIER
DISTRIBUTION SYSTEMS, LLC
933 Brodhead Road

Coraopolis, PA 15108 ; and

COURIER DISTRIBUTION
SYSTEMS, LLC

6650 Suga;rloafParkway, Suite 300
Duluth, GA 30097

Defendants.

 

C()LLECTIVE AND CLA_SS ACTION COMPLAINT

Piaintifi` Mustapha Tahbout (“Plaintifi”) hereby brings this collective/class action against
Defendant Eshai Corp d!b/a Courier I)istribution Systems and Defendant Courier Distribution
Systems, LLC (collectively, “Defendants”), and alleges, upon personal belief as to his own acts,
and upon information and belief as to the acts of others, as follows:

NATURE OF THE ACTION

1. Plaintiff bring this complaint contending that Defendants have unlawfully failed
to pay him and other similarly-situated individuals employed in the position of Delivery Driver
(“Class Plaintiffs”), overtime compensation pursuant to the requirements of the Fair Labor
Standards Act (“FLSA”), 29 U.S.C. § 201, et seq. and the Pennsylvania Minimum Wage Act

(“PMWA”), 43 P.S. § 333.100, et seq.

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2. Plaintiff is a former employee of Defendants Who Was employed in the position of
Delivery Driver. During the course of their employment, Plaintiff and Class Plaintiffs regularly
Worked more than forty (40) hours per Week, but Were not properly compensated for their Work
in that Plaintiff and Class Plaintiffs Were not paid an overtime premium at 1.5 times their regular
rate of pay for each hour Worked in excess of forty (40) hours in a Workweek.

3. Plaintiff brings this action as a representative action under the FLSA and PMWA
for monetary damages and penalties, to seek redress for Defendants’ willful, unlawful, and
improper conduct

JURISDICTI()N AND VENUE

4. This Court has jurisdiction over this action pursuant to 29 U.S.C. § 216([)), Which

provides, in relevant part, that suit under the FLSA “may be maintained against any employer . . .

in any Federal or State court of competent jurisdiction.” §ge 29 U.S.C. § 216(b).

5. This Court also has federal question jurisdiction over this action pursuant to 28
U.S.C. § 1331.
6. This Court has supplemental jurisdiction over Plaintifi" s state law claims because

those claims arise out of the same nucleus of operative fact as Plaintift"s FLSA claims.

7. The venue in this district is proper pursuant to 28 U.S.C. § 1391 (b), as the parties
reside in this judicial district, doing business therein, and the unlawful practices of Which
Plaintiff are complaining Were committed in the Commonwealth of Pennsylvania.

PARTIES

8. Plaintift` Mustapha Tahbout currently resides at 9509 Hoff Street, Apt. A,

Philadelphia, PA 191 15.

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9. Upon information and belief, Defendant Eshai Corp, d/b/a Courier Distribution
Systems, is a for-profit corporation organized and existing under the laws of the State of
Wisconsin, with office addresses registered with the Pennsylvania Secretary of State of 933
Brodhead Road, Coraopolis, PA 15108 and 4636 Westchester Ct., Duluth, GA 30096j and a
principal place of business at 4222 l\/lilwaul<ee Street, #18, Madison, Wisconsin 53714.

10. Upon information and belief, Defendant Eshai Corp. is the owner of Defendant
Courier Distribution Systems, LLC, a limited liability company organized and existing under the
laws of the State of Georgia, with an office address registered with the Georgia Secretary of
State of 6650 Sugerloaf Parkway, Suite 300, Duluth, GA 30097, and a an office address
registered with the Pennsylvania Secretary of State of 933 Brodhead Road, Coraopolis, PA
15 1 08.

1 1. Upon information and belief, Defendants operate throughout the Cornmonwealth
of Pennsylvania, including this judicial district

12. Defendants are “private employers” and covered by the FLSA-

13. Plaintiff and, upon information and belief, Class Plaintiffs were employees who
was employed by Defendants during all times relevant hereto and, as such, are employees
entitled to the FLSA’s protections Y 29 U.S.C. § 203(€).

14. At all times relevant hereto, Defendants acted or failed to act through their agents,
servants, and/or employees thereto existing, each of whom acted at all times relevant hereto in

the course and scope of their employment with and for Defendants.
FLSA COLLECTIVE ACTI()N ALLEGATIONS

15. Paragraphs 1 through 14 are hereby incorporated by reference as though the same

were fully set forth at length herein

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16. This action is brought as a collective action to recover unpaid compensation and
overtime compensation, liquidated damages, unlawfully withheld wages, statutory penalties, and
damages owed to Plaintiff and all similarly situated current and fenner employees of Defendants.

17. Pursuant to 29 U.S.C. § 216(b) of the FLSA, Plaintiff brings this action
individually and on behalf of all other similarly situated persons presently or formerly employed
by Defendants in the position of Delivery Driver who worked for Defendants at any point in the
past three (3) years, drove non-commercial vehicles (i.e. vehicles weighing less than 10,000
pounds), were paid on a per route, salary, and/or hourly basis, and denied overtime compensation
at their regular rate of pay for all hours worked over forty (40) in a workweek (“Class
Plaintiffs”).

18. Plaintiff estimates that there are in excess of forty (40) other similarly situated
Delivery Drivers who either are working or worked for Defendants and were unlawfully denied
overtime compensation at 1.5 times their “regular rate” of pay for hours worked in excess of
forty (40) in a workweek as a result of the unlawful practices described above. The precise
number of employees can easily be ascertained by Defendants. These employees can be
identified and located using Defendants’ payroll and personnel records. Class Plaintiffs may be
informed of the pendency of this Collective Action by direct mail and/or publication

19. Pursuant to 29 U.S.C. § 216(b), this action is properly maintained as a collective
action because the Class Plaintiffs are similarly-situated Plaintiff and Class Plaintiffs were
similarly denied overtime compensation at their regular rate of pay as a result of Defendants’
unlawful pay practices, had the same or similar job classifications and job duties, and were
subject to the same uniform policies, business practices, payroll practices, and operating

procedures Further, Defendants’ willful policies and practices, which are discussed more fully

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in this Collective and Class Action Complaint, whereby Defendants have failed to pay Class
Plaintiffs an overtime premium based on 1.5 times their “regular rate” for all hours worked over
forty (40) hours in a workweek, have impacted Class Plaintiffs in the same fashion.

20. Plaintiff will request the Court to authorize notice to all current and former
similarly-situated employees employed by Defendants, informing them of the pendency of this
action and their right to “opt-in” to this lawsuit pursuant to 29 U.S.C. § 216(b), for the purpose of
seeking unpaid compensation, overtime compensation, and liquidated damages under the FLSA.

CLASS ACTION ALLEGATIONS

21. Paragraphs 1 through 20 are hereby incorporated by reference as though the same
were fully set forth at length herein.

22. Plaintiff brings this action individually, and on behalf of the following state-wide
class of similarly situated individuals, pursuant to Rule 23 of the Federal Rules of Civil

Procedure:

All persons presently or formerly employed by Defendants during the past three

(3) years in the position of Delivery Driver, who drove non-commercial vehicles

(i.e. vehicles weighing less than 10,000 pounds), were paid on a per route, salary,

and/or hourly basis, and were denied overtime compensation under the PMWA at

their regular rate of pay for all hours worked over forty (40) in a workweek

23. The members of the class are so numerous that joinder of all members is
impractical Class members may be informed of the pendency of this Class Action by direct
mail.

24. Pursuant to Federal Rule of Civil Procedure 23(a)(2), there are question of law
and fact common to the Class, including, but not limited to:

A. Whether Plaintiff and the Class are entitled to overtime compensation for

services rendered in excess of forty (40) hours per week under the PMWA;

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B. Whether Defendants improperly utilized the fluctuating workweek method
for determining Plaintiff and Class Plaintiffs’ eligibility for overtime compensation under the
PMWA;

C. Whether Defendants failed to accurate track and maintain records of the
hours worked by Plaintiff and the Class;

D. Whether Plaintiff and the Class worked in excess of forty (40) hours per
week; and

E. Whether Plaintiff and the Class have suffered and are entitled to damages,
and if so, in what amount; and

25. Plaintiff’ s claims are typical of the claims of the Class members Plaintiff is a
former employee of Defendants who was employed in the position of Deliver Driver, drove non-
commercial vehicles, and suffered similar injuries as those suffered by the Class members as a
result of Defendants’ failure to properly pay overtime compensation Defendants’ conduct of
violating the PMWA has affected Plaintiff and the Class in the same way.

26. Plaintiff will fairly and adequately represent and protect the interests of the Class.
Plaintiff is similarly situated to the Class and has no conflict with the Class members

27. Plaintiff is committed to pursuing this action and has retained competent counsel
experienced in class action litigation

28. Pursuant to Rules 23(b)(l), (b)(2), and/or (b)(3) of the Federal Rules of Civil
Procedure, this action is properly maintained as a class action because:

A. The prosecution of separate actions by or against individual members of
the Class would create a risk of inconsistent or varying adjudication with respect to individual

members of the Class that would establish incompatible standards of conduct for Defendants;

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B. Defendants, by failing to pay wages and overtime compensation when
they became due and owing in violation of the PMWA, have acted or refused to act on grounds
generally applicable to the Class, thereby making equitable relief appropriate with respect to the
Class as a whole; and

C. The common questions of law and fact set forth above applicable to the
Class predominate over any questions affecting only individual members and a class action is
superior to other available methods for the fair and efficient adjudication of this case, especially
with respect to considerations of consistency, economy, efficiency, fairness and equity, as
compared to other available methods for the fair and efficient adjudication of the controversy

29. A class action is also superior to other available means for the fair and efficient
adjudication of this controversy because individual joinder of the parties is impractical Class
action treatment will allow a large number of similarly situated persons to prosecute their
common claims in a single forum simultaneously, efficiently, and without the unnecessary
duplication of effort and expense if these claims were brought individually Additionally, as the
damages suffered by each Class member may be relatively small, the expenses and burden of
individual litigation would make it difficult for the Class members to bring individual claims.
The presentation of separate actions by individual Class members could create a risk of
inconsistent and varying adjudications, establish incompatible standards of conduct for
Defendants, and/or substantially impair or impede the ability of each member of the Class to
protect his or her interests

FACTUAL BACKGROUND
30. Paragraphs 1 through 29 are hereby incorporated by reference as though the same

were fully set forth at length herein.

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31 . Plaintiff Mustapha Tahbout first began his employment with Defendants in or
around June 2015, when he was hired a Delivery Driver.

32. Throughout the course of Plaintiff’ s employment with Defendants, Plaintiff
exclusively drove non-cormnercial vehicles, i.e. vehicles weighing less than ten thousand

(10,000) pounds.

33. Upon information and belief, Class Plaintiffs also exclusively drove non-
commercial vehicles, i.e. vehicles weighing less than ten thousand (10,000) pounds.

34. Accordingly, Plaintiff was not, and, upon information and belief, Class Plaintiffs
were not, exempt from the payment of overtime compensation due to the Small Vehicle
Exception to the Motor Carrier Exemption. S_ee 29 U.S.C. § l3(b)(1); see glle l\/lcl\/laster v. E.
Armored Servs., 780 F.3d 167, 169-72 (3d Cir. 2015) (holding that when the job duties of an
employee otherwise covered by the FLSA affect, in whole or in part, the safe operation of
vehicles lighter than 10,000 pounds, the Small Vehicle Exception to the Motor Carrier
Exemption applies and the employee will be entitled to overtime compensation).

35. As Delivery Drivers, Plaintiff and Class Plaintiffs were tasked with delivering
parcels under Defendants’ services contract with Amazon Warehouse.

36. Plaintiff and, upon information and belief, Class Plaintiffs were not required to
have a commercial diiver’s license (CDL) in order to perform the role of Delivery Driver.

37. When delivering parcels for Defendants, Plaintiff and, upon information and
belief, Class Plaintiffs, exclusively drove minivans, vans, and/or high-top vans weighing less

than 10,000 pounds

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38. Plaintiff and, upon information and belief, Plaintiff and Class Plaintiffs were
typically scheduled to work five (5) to six (6) twelve and a half (12.5) hour shifts each week, for
an average of sixty-two and a half (62.5) to seventy-five (75) hours per week.

39. However, Plaintiff` and, upon information and belief, Class Plaintiffs sometimes
worked in excess of eighty (80) hours per week, depending on the volume of parcels to be
delivered and/or Defendants’ staffing requirements

40. Despite the fact that Plaintiff and, upon information and belief, Class Plaintiffs,
regularly worked in excess of forty (40) hours of overtime per week, they did not receive
overtime compensation at a rate not less than 1.5 times their regular rate of pay for all hours

worked over forty (40) in a workweek.

41. By way of example, during the workweek of August 20, 2017 to August 26, 2017,
Plaintiff worked at least 67.32 hours, but did not receive overtime compensation at a rate not less
than 1.5 times his regular rate of pay for the approximately 27.32 hours of overtime he worked
during said workweek.

42. During the summer of 20 l 6, a manager employed by Defendants named Andrea
J ones informed Plaintiff that it was Defendants’ policy to pay overtime compensation to its
Delivery Drivers only after they worked fifty (50), as opposed to forty (40), hours per week

43. Defendants failed to track and maintain accurate records of the regular and
overtime hours worked by Plaintiff and, upon information and belief, Class Plaintiffs, per day
and per week as required by the FLSA. §ee 29 C.F.R. § 516.2.

44. Defendants were aware that Plaintiff and, upon information and belief, Class
Plaintiffs were working significant overtime hours without properly receiving overtime

compensation as aforesaid

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45. Piaintiff and Class Plaintiffs did not/do not have the authority to hire, fire, or
discipline other employees of Defendants, nor did/do they make recommendations with respect
to employee status changes to which Defendants gives substantial weight.

46. As a result, Plaintiff` and Class Plaintiffs do not satisfy the duties requirements for
the exemption for executive employees under the FLSA/PMWA.

47. Plaintiff and Class Plaintiffs did not/do not perform work directly related to
Defendants’ management or general business operations, nor did/do they exercise discretion or
independent judgment regarding matters of significance to Defendants.

48. Accordingly, Plaintiff and Class Plaintiffs do not meet the duties requirements for
the exemption for administrative employees under the FLSA/PMWA.

49. PlaintifF s and Class Plaintiffs’ primary duty did not/does not include the
performance of work predominately intellectual in nature requiring advanced knowledge in a
field of science or learning acquiring through a prolonged course of intellectual instruction ln
this regard, Plaintiff’ s and Class Plaintiffs’ job duties did not/does not require the consistent
exercise of discretion and judgment, as distinguished from the performance of routine mental,
manual, and mechanical work.

50. Accordingly, Plaintiff and Class Plaintiffs do not meet the duties requirements for
the exemption for learned professionals under the FLSAfPMWA.

51. As stated above, Plaintiff and, upon information and belief, Class Plaintiffs
exclusively drove non-commercial vehicles (i.e. vehicles weighing less than 10,000 pounds) and,
as such, qualify for the Small Vehicle Exception to the Motor Carrier Exemption under the

FLSA/PMWA.

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52. Finally, there are no other exemptions under the FLSA and/or PMWA which
could arguably be applicable to Plaintiff or Class Plaintiffs.

53. Plaintiff and Class Plaintiffs are/were, within the meaning of the FLSA and
PMWA, non-exempt employees of Defendants and therefore entitled to overtime compensation
for all hours they worked over forty (40) in a workweek.

54. As a result of Defendants’ aforesaid illegal actions, Plaintiff and Class Plaintiffs

have suffered damages
C(}UNT I
FAIR LABOR STANDARDS ACT
29 U.S.C § 201, et seq.
FAILURE TO PAY OVERTIME COMPENSATION

55. Paragraphs l through 54 are hereby incorporated by reference as though the same
were full set forth at length herein

56. Pursuant to Section 206(b) of the FLSA, employees must be compensated for
every hour worked in a workweek

57. Moreover, under Section 207(a)(l) of the FLSA, employees must be paid
overtime equal to 1.5 times the employee’s regular rate of pay, for all hours worked in excess of
forty (40) hours per week.

58. Defendants failed to accurately track and maintain records of all hours worked by
Plaintiff and Class Plaintiffs.

59. As a result, Defendants failed to pay Plaintiff and Class Plaintiffs overtime
compensation for all hours worked over forty (40) in a workweek at 1.5 times their regular rate
of pay.

60. The foregoing actions of Defendants and the policies and practices of Defendants

violate the FLSA.

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6l. Defendants’ actions were willful, not in good faith, and in reckless disregard of
clearly applicable FLSA provisions

62. Defendants is liable to Plaintiff and Class Plaintiff`s for actual damages, liquidated
damages, and other equitable relief, pursuant to 29 U.S.C. § 2l6(b), as well as reasonable
attorneys’ fees, costs, and expenses

WHEREFORE, Plaintiff prays for the following relief on behalf of himself and Class
Plaintiffs;

A. An Order from this Court permitting this litigation to proceed as a collective
action pursuant to 29 U.S.C. § 216(b);

B. An Order from the Court ordering Defendants to file with this Court and furnish
to the undersigned counsel a list of all names and addresses of all persons presently or formerly
employed by Defendants in the positions of Delivery Driver, or in positions with substantially
similar job duties, who worked for Defendants at any point in the past three (3) years who were
paid on a per route, salary, or hourly basis, drove non-commercial motor vehicles, and were
denied overtime compensation at their regular rate of pay for all hours worked over forty (40) in
a workweek, and authorizing Plaintiff’ s counsel to issue a notice at the earliest possible time to
these individuals, informing them that this action has been filed, of the nature of the action, and
of their right to opt-in to this lawsuit if they worked for Defendants during the liability period,
but were not paid overtime compensation at 1.5 times their regular rate of pay as required by the
FLSA;

C. Adjudicating and declaring that Defendants’ conduct as set forth herein and above

is in violation of the FLSA;

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D. Adjudicating and declaring that Defendants violated the FLSA by failing to pay
overtime compensation to Plaintiff and Class Plaintiffs for work performed in excess of forty
(40) hours per week;

E. Awarding Plaintiff and Class Plaintiffs back pay wages and/or overtime wages in
an amount consistent with the FLSA;

F. Awarding Plaintiff and Class Plaintiffs liquidated damages in accordance with the
FLSA;

G. Awarding Plaintiff reasonable attorneys’ fees and all costs of this action, to be
paid by Defendants, in accordance with the FLSA;

H. Awarding pre- and post-judgment interest and court costs as further allowed by
law;

I. Granting Plaintiff and the Class Plaintiffs leave to add additional Plaintiff by
motion, the filing of written opt-in consent forrns, or any other method approved by the Court;
and

J. For all additional general and equitable relief to which Plaintiff and the Class
Plaintiffs may be entitled

C()UNT II
PENNSYLVANIA MINIMUM WAGE ACT OF 1968
43 P.S. § 333, et seq.
FAILURE T() PAY OVERTIME COMPENSATION

63. Paragraphs l through 62 are hereby incorporated by reference as though the same
were fully set forth at length herein.

64. The Pennsylvania Minimurn Wage Act provides that employers must pay certain

“minimum wages,” including overtime wages, to its employees § 43 P.S. § 333.113.

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65. The Pennsylvania Minimum Wage Act further provides that “employees shall be
paid for overtime not less than one and one half times the employee’s regular rate” for hours
worked in excess of forty (40) hours in a workweek. S_e§; 43 P.S. § 333.1 l 3.

66. By its actions alleged above, Defendants have violated the provisions of the
Pennsylvania Minimum Wage Act of 1968 by failing to properly pay overtime compensation and
for failing to properly pay Plaintiff and Class Plaintiffs for all hours work.

67. As a result of Defendants’ unlawful acts, Plaintiff and Class Plaintiffs have been
deprived of overtime compensation in amounts to be determined at trial, and are entitled to
recovery of such amounts, together with interest, costs and attorney’s fees pursuant to
Pennsylvania Minirnum Wage Act of 1968, 43 P.S. § 333.113.

WHEREFORE, Plaintiff, on behalf of himself and the Class Plaintiffs, prays for
judgment against Defendants as follows:

A. An Order certifying this case as a class action and designating Plaintiff as the
representative of the Class and his counsel as class counsel;

B. An award to Plaintiff and Class Plaintiffs for the amount of unpaid overtime
compensation to which they are entitled, including interest thereon, and penalties subject to
proof;

C. An award to Plaintiff and Class Plaintiffs of reasonable attorney’s fees and costs
pursuant to the Pennsylvania Minimum Wage Act; and

D. An award to Plaintiff and Class Plaintiffs for any other damages available to them
under applicable Pennsylvania law, and all such other relief as this Court may deem proper.

JURY DEMAND

Plaintiff hereby demands a trial by jury as to all issues so triable

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Respectfu mitted,

MU LA GROUP, LLC

By:

 

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Attorneys for Plaintiff

Dated: February 18, 2019

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DEMAND TO PRESERVE EVIDENCE
The Defendants are hereby demanded to preserve all physical and electronic information
pertaining in any way to Plaintiff s and the Class/Collective Plaintiff’ s employment to their
potential claims and their claims to damages, to any defenses to same, including, but not limited
to, electronic data storage, employment files, files, memos, job descriptions, text messages, e-
mails, spread sheets, images, cache memory, payroll records, paystubs, time records, time sheets
and any other information and/or data which may be relevant to any claim or defense in this

litigation

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